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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI DIVISION

                     CASE NO. 24-CR-20110-GAYLES/GOODMAN


  UNITED STATES OF AMERICA,

        Plaintiff,


  v.

  BAYRON BENNETT, et al.,

        Defendants.
  ____________________________________/

                     ORDER GRANTING INTERVENOR’S MOTION
                        FOR ACCESS TO AUDIO RECORDING

        The McClatchy Company, LLC (“McClatchy”), the publisher of The Miami Herald

  (the “Herald”), filed a Motion for Limited Intervention and for Access to Audio

  Recording. [ECF No. 75]. The Undersigned already entered an Order [ECF No. 76]

  granting part of the motion and permitting McClatchy to intervene. The motion concerns

  a request for access to the Digital Audio Recording (the “DAR”) of an August 9, 2024

  pretrial detention hearing held before the Undersigned. During that hearing, the United

  States played recorded telephone calls involving Defendant Fausto Villar (“Villar”). The

  Undersigned relied on a recorded telephone call to support my ruling that Villar should

  be detained pending trial. McClatchy would like a copy of the recording, which my

  Courtroom Deputy confirmed did, in fact, pick up the statements played in open Court
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  from the recorded telephone calls.

         United States District Judge Darrin P. Gayles referred [ECF No. 77] the motion to

  me. For the reasons outlined below, the Undersigned grants the motion and provides

  instructions on how McClatchy (or its Herald reporter, Jay Weaver, who made the initial,

  informal request before a formal motion was filed) can arrange to obtain a copy of the

  DAR recording of the pretrial detention hearing.

         The United States, whose prosecutor played the recording from her laptop

  computer during the open hearing, filed a Court-ordered response [ECF No. 78], advising

  that it does not oppose McClatchy’s position that it should be able to obtain a copy of the

  DAR recording. In doing so, the United States noted that the motion does not request that

  the government turn over any evidence that is subject to a Court-issued Protective Order.

  The United States further explained that “the First Amendment and the supporting case

  law allow for [McClatchy] to obtain a copy of the DAR recording of the public court

  proceeding where Villar was ordered detained.” [ECF No. 78, p. 3].

         The Undersigned agrees, and I also note that no Defendants filed a written

  objection to the motion for access to the DAR.

         Given that the recording was played in open court, and regardless of whether it

  was technically introduced into evidence as a formal exhibit, the common law and the

  First Amendment should generate a right of those interested to inspect and copy the

  recording. See United States v. Saunders, 611 F. Supp. 45, 47 (S.D. Fla 1985) (collecting


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  decisions); 1 see also United States v. Miller, 579 F. Supp. 862, 865 (S.D. Fla. 1984) (“This

  Court and numerous other federal courts have granted motions similar to those made

  here for the inspection and copying of video and/or audio tapes which have been played

  in open court.”) (collecting decisions).

         The Miller Court provided the logical analysis of why there is a right of access to a

  recording played in open Court before members of the lay public:

         Once the evidence has become known to the members of the public
         including representatives of the press, through their attendance at a public
         session of court, it would take the most extraordinary circumstances to
         justify restrictions on the opportunity of those not physically in attendance
         to see and hear the evidence when it is in a form which readily permits sight
         and sound reproduction.

  579 F. Supp. at 864–65 (quoting In re: Application of Nat’l Broad. Co. United States v. Myers,

  635 F.2d 945, 952 (2d Cir. 1980)).

         To be sure, the Undersigned acknowledges that the cases cited above concern

  recordings which were actually admitted into evidence, while the audio recording here

  was merely played in open Court (and recorded by the DAR) as part of a proffer (but was

  not admitted into evidence).




  1       The Saunders Court also explained that “the courts in this district as well as other
  federal courts have repeatedly recognized that once a tape has been admitted into
  evidence and played in open court, the common law and the first amendment establish
  the right of those interested to inspect and copy the tape.” 611 F. Supp. at 48. It also noted
  that “[t]he right to inspect and copy obtains even when the press and the public already
  have the information pertaining to the evidence.” Id.
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         Although there does not appear to be any decisions within the Eleventh Circuit

  addressing this specific scenario, the Second Circuit considered the precise issue and held

  that the recordings are subject to the press’s and public’s right of access to judicial

  proceedings and records. See United States v. Graham, 257 F.3d 143, 151 (2d Cir. 2001) (“On

  appeal, the defendants contend that, because the tapes played at the pretrial detention

  hearing were not entered into evidence, they are not ‘judicial records.’ We disagree.”); id.

  at 152 (“Thus, while the defendants are correct that the words ‘admitted into evidence’

  were not used at the hearing, the distinction appears to us to be at most a semantic one,

  given the presentation of the tapes at the hearing and the district court’s reliance on them

  in making its decision.”); id. (“The First, Third, and Seventh Circuits 2 have all similarly




  2      As the Second Circuit explained in Graham, “the policy behind the common law
  presumption of access is that what transpires in the courtroom is public property.” 257 F.
  3d at 152 (quoting Smith v. United States Dist. Ct., 257 F.3d 143, 153 (7th Cir. 2001)). The
  Graham Court’s rationale continued:

         In effect, the common law right functions to extend the right of the public
         to attend court proceedings to include the inspection of evidence presented
         at those proceedings. Thus, just as a member of the public sitting in the
         courtroom might observe the presentation of evidence as to which an
         objection is made and sustained as well as evidence which is admitted, it
         makes sense that the definition of a “judicial document” would extend to
         any material presented in a public session of court “relevant to the
         performance of the judicial function and useful in the judicial process”
         whether or not it was formally admitted.” [United States v. Amodeo, 44 F.3d
         141, 146 (2d Cir. 1995)].

  Id. (emphasis added).


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  held that the common law right applies not only to items in evidence, but rather more

  generally to materials on which a court relied in determining the litigants’ substantive

  rights, which may include transcripts of proceedings and everything in the record,

  including items not admitted into evidence.”) (footnote added; internal citations,

  quotation marks, and brackets omitted) (collecting decisions).

        The recorded telephone calls at issue here were played in a packed, open

  courtroom. All in the courtroom heard (or could have heard, if they were listening) those

  recorded conversations. The mere fact that Mr. Weaver was not also in Court that day

  should not deprive him (or any other member of the public) from obtaining access to

  evidence played in Court when the presiding judge expressly relied on those recordings

  as a basis for an important ruling granting the United States’ request for pretrial

  detention.

        So the Undersigned grants the motion.

        Turning now to logistics, McClatchy (or Mr. Weaver) may contact Randy Tobie,

  the Clerk’s Office Records Management Supervisor (305-523-5213) to make arrangements

  to pay for the copy of the DAR and to pick it up.

        DONE AND ORDERED in Chambers, at Miami, Florida, on October 1, 2024.




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  Copies furnished to:
  The Honorable Darrin P. Gayles
  All Counsel of Record




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